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     SO. CAL. EQUAL ACCESS GROUP
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     YEONG LEE
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     YEONG LEE,                                         Case No.: 8:24-cv-00505-SVW-ADSx
11
12                Plaintiff,                            NOTICE OF VOLUNTARY
                                                        DISMISSAL OF ENTIRE ACTION
13         vs.                                          WITH PREJUDICE
14
     A & G TIRE SERVICE INC.; GABRIEL
15   C. RAMOS; and DOES 1 to 10,
16                Defendants.
17
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19
           PLEASE TAKE NOTICE that Plaintiff YEONG LEE (“Plaintiff”) pursuant to

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     Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire

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     action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which

22
     provides in relevant part:

23         (a) Voluntary Dismissal.

24                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                       and any applicable federal statute, the plaintiff may dismiss an action
26                       without a court order by filing:
27                       (i)      A notice of dismissal before the opposing party serves either an
28                                answer or a motion for summary judgment.

                                                    1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: May 24, 2024            SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                         By:      /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
 9                                                Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
